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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

JACQUELINE DELGADO,
individually on behalf of all others            No. 2:21-CV-11401-BAF-EAS
similarly situated,
                                                Hon. Bernard A. Friedman
                    Plaintiff,                  Mag. Judge Elizabeth A. Stafford
      v.
EMORTGAGE FUNDING, LLC, a
Michigan company,
                    Defendant.

               STIPULATION AND ORDER FOR DISMISSAL

      Plaintiff Jacqueline Delgado (“Plaintiff”) and Defendant eMortgage

Funding, LLC (“Defendant”) hereby stipulate to the dismissal of this action with

prejudice as to Plaintiff’s individual claims and without prejudice as to any other

member of the putative class’s right to bring claims, with each party to bear its

own attorneys’ fees and costs.

      So stipulated.

                                       Respectfully Submitted,

Dated: April 27, 2022                  By: /s/ Avi R. Kaufman
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                                       Attorneys for Plaintiff and the putative
                                       Classes

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                                       Email: bnatarelli@manatt.com
                                       Counsel for Defendant


      So Ordered.

                                       _________________________
                                       Elizabeth A. Stafford
                                       United States Magistrate Judge




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 27, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF, and it is being

served this day on all counsel of record via transmission of Notice of Electronic

Filing generated by CM/ECF.

                                             /s/ Avi R. Kaufman
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